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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTIRCT OF FLORIDA
                       TALLAHASSEE DIVISION

EQUALITY FLORIDA, et al.,

Plaintiffs,

v.
                                           Case No. 4:22-cv-134-AW-MJF
FLORIDA STATE BOARD OF
EDUCATION, et al.,

Defendants


      BRIEF OF THE STATES OF TEXAS, ALABAMA, ALASKA,
   ARKANSAS, GEORGIA, INDIANA, KENTUCKY, LOUISIANA,
   MISSISSIPPI, NEBRASKA, OKLAHOMA, SOUTH CAROLINA,
VIRGINIA, AND WEST VIRGINIA AS AMICI CURIAE IN SUPPORT OF
                      DEFENDANTS
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                INTRODUCTION AND INTEREST OF AMICI

    States have the “high responsibility for education of its citizens,” which includes

the obligations to set standards for what children learn in school and to protect par-

ents’ rights to protect their children from inappropriate material. Wisconsin v. Yoder,

406 U.S. 205, 213 (1972). States discharge these obligations by “impos[ing] reason-

able regulations for the control and duration of basic education.” Id. This is, in fact,

“the very apex of the function of a State.” Id. Florida’s H.B. 1557 seeks to vindicate

these principles by wresting primary responsibility for control over the education of

children away from unelected teachers and local bureaucrats and returning it to par-

ents. See Troxel v. Granville, 530 U.S. 57, 65 (2000) (observing that “the interest of

parents in the care, custody, and control of their children[ ] is perhaps the oldest of

the fundamental liberty interests recognized by this Court”).

    Florida’s law is consistent with that of its sister States. Every one of the 50 States

has a robust set of education laws, and many regulations to guide and/or govern the

curriculum choices of public schools in their States. Some of those codes include

very specific requirements. For instance, Section 28.002 of Texas’ Education Code

has a long list of detailed curriculum requirements, including extensive lessons in

Texas history with a detailed required reading list. Tex. Educ. Code § 28.002(h-1).




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Texas also prohibits teaching “critical race theory” to schoolchildren in Texas pub-

lic schools. See Act of Sept. 2, 2021, 87th Leg., 2d C.S., ch. 9, § 5 (Tex. S.B. 3), Tex.

Gen. Laws 3928, 3930–32 (codified at Tex. Educ. Code § 28.0022). Likewise, many

States’ education codes delegate the details of curricula to regulatory bodies that

make rules for and supervise education across their State. For example, California’s

Education Code regularly delegates to its Department of Education the responsibil-

ity to include specific topics in its “Curriculum Frameworks,” which function as

guides for school curricula. See e.g., Cal. Educ. Code § 51210.4. Indeed, in 1993, it

amended its code and gave its Department of Education roughly two years to develop

a model curriculum for a traditional parenting course for middle and high schoolers.

Id. § 51220.5(c).

    Fundamentally, State education policy is driven by democratic processes. Par-

ticularly elections of legislators who are elected and then sent to their respective cap-

itals to solve specific problems through the legislative process. When those legisla-

tors pass laws, and they are challenged, “the good faith of the state legislature must

be presumed.” League of Women Voters of Fla., Inc. v. Fla. Sec’y of State, 32 F.4th

1363, 1373 (11th Cir. 2022) (per curiam) (quoting Abbott v. Perez, 138 S. Ct. 2305,

2324 (2018)). Granted, discerning a legislature’s intent can be a tricky business. Each




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legislator votes for their own reasons, and every enacted statute reflects the consen-

sus and compromise of hundreds of legislators on complex questions. Indeed, “[t]he

number of possible motivations [for passing a statute] . . . is not binary, or indeed

even finite.” Edwards v. Aguillard, 482 U.S. 578, 636–37 (1987) (Scalia, J., dissent-

ing).

    Even so, the presumption of legislative good faith has often been ignored, with

some courts failing to “meaningfully account[] for the presumption at all.” League

of Women Voters, 32 F.4th at 1373. As a result, the amici States regularly defend

against challenges to State statutes brought by those with no grievance more substan-

tial than opposition to the results of the legislative process. These litigants invite fed-

eral courts to substitute their own judgment for that of the legislature. Too often,

courts accept the invitation to usurp the legislative role by ascribing invidious intent

to legislative enactments, thereby legitimizing otherwise meritless challenges based

on sheer policy disagreement by recasting those challenges as discrimination claims.

See Brnovich v. Democratic Nat’l Comm., 141 S. Ct. 2321, 2349–50 (2021). The Con-

stitution forbids that, and for good reason. FCC v. Beach Commc’ns, Inc., 508 U.S.

307, 314 (1993). Federal courts are poorly positioned to weigh the many interests at

stake. Their decisions are rendered without public debate. And, because they are not

elected, they cannot be held accountable by the people.



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     Plaintiffs’ claims are little more than after-the-fact complaints about the policy

merits of Florida’s law. This Court should respond to them accordingly. Florida’s

H.B. 1557 falls well within the scope of the “the very apex of the function of a State.”

Yoder, 406 U.S. at 213. Parents have a strong interest, and thus the State has a strong

duty, in preventing children from being exposed to sexual instruction that is not age

appropriate. The law does not violate anyone’s right to expression or receive infor-

mation, does not discriminate, and is not unconstitutionally vague.

                                      ARGUMENT

I.     States Have a Strong Interest in Protecting Parental Rights in Education
       and Rationally Using that Interest to Set Curriculum Standards

     States have considerable latitude to create rules for public education that are

“reasonably related to legitimate pedagogical concerns.” Hazelwood Sch. Dist. v.

Kuhlmeier, 484 U.S. 260, 273 (1988). States also have a strong interest in ensuring

that the rules they create for public education meets reasonable standards aligned

with the age and maturity of students in particular grades. See, e.g., Virgil v. Sch. Bd.

of Columbia Cnty., 862 F.2d 1517, 1521–22 (11th Cir. 1989). Florida’s H.B. 1557 sat-

isfies this interest while also vindicating the fundamental right of parents to make

decisions concerning the care, custody, and control of their child. Fla. Stat.

§ 1001.42(8)(c)(3); see also Troxel, 530 U.S. at 65

     Florida is no outlier in its regulation of its curriculum for sensitive subjects for


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young children. Indeed, it is exceedingly common for States to describe different

curriculum requirements for different age groups. Plaintiffs’ alternative—that teach-

ers have a First Amendment right to override the legislature’s will and to define their

own curriculum requirements—has no basis in law. It is also irreconcilable with set-

tled precedent holding that government employees have no First Amendment right

to subvert the government’s constitutional ends while on the job. See e.g., Garcetti v.

Ceballos, 547 U.S. 410, 426 (2006).

        A.    Florida uses core state authority to govern curriculum for sensitive
              subjects for young children.

    When it comes to education, parental rights and responsibilities are strongly tied

to the State’s interest in educating citizens. See, e.g., Pierce v. Soc’y of Sisters of Holy

Names of Jesus & Mary, 268 U.S. 510, 534–35 (1925); Yoder, 406 U.S. at 231–32. Pro-

tecting such parental rights in education requires rationally based laws that set stand-

ards for what children learn at school. Yoder, 406 U.S. at 213. This is “the very apex

of the function of a State.” Id.

    Nonetheless, a growing contingent of teachers and school administrators are

promoting sexual content to children and encouraging them to hide it from their par-

ents. 1 Some educators even solicit these discussions with students while promising



    1
   See Jeremiah Poff, Texas School Told Teachers to Keep Parents in Dark if Students
Came Out as Transgender, WASHINGTON EXAMINER (Jan. 14, 2022),

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that parents will be kept in the dark. 2 As a result, many state legislatures have clari-

fied that when it comes to sex education, parents—not school districts—are in

charge. For example, Texas Education Code section 28.004(i-2) requires that

“[b]efore a student may be provided with human sexuality instruction, a school dis-

trict must obtain the written consent of the student’s parent.” Such instruction

could occur, for example, at events such as a district-wide “Pride Week,”3 a school-

hosted drag queen show,4 or courses involving LGBTQIA+ instructional sessions.5




https://www.washingtonexaminer.com/policy/texas-school-told-teachers-to-keep-
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      Austin Indep. Sch. Dist., Austin ISD Pride Week 2022, https://www.aus-
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Tex. Educ. Code § 28.0022. Florida’s H.B. 1557 was motivated by similar concerns.

See State’s Second Motion to Dismiss at 4-10 (ECF No. 134).

    Florida’s HB 1557 fits well within the collection of State laws that regulate pri-

mary education curriculum by imposing restraints on what teachers can say. Indeed,

many States have laws that go a great deal further in regulating what teachers may

(or must) say in the classroom. See, e.g., Kirkland v. Northside Indep. Sch. Dist., 890

F.2d 794, 795 (5th Cir. 1989) (upholding non-renewal of a teacher’s contract who

deviated from approved curriculum). And in the unique teacher-speech context, it is

routine for States to forbid particular classroom content and even require teachers

to express specific opinions. For example, California’s 2011 FAIR Education Act in-

cludes a robust book ban. Cal. Educ. §§ 51501, 60044. Illinois bans textbooks that do

not include mention of “people protected under the Illinois Human Rights Act,”

which means, among other things, those identifying as members of the LGBTQ com-

munity. Ill. H.B. 0246 at 2, 101st Leg., R.S. (2020) (enrolled version). Nevada effec-

tively bans textbooks that do not include descriptions of the contributions of groups

of individuals as varied as immigrants, Basques, “persons of marginalized sexual ori-

entation or gender identity,” and others. Nev. Rev. Stat. §§ 389.061(1), .525. Colo-

rado forbids teachers who teach sex education from teaching abstinence only, or even

teaching that abstinence is the primary way one should approach sex. Colo. Rev. Stat.



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§ 22-1-128(2)(b). Oregon outright bans abstinence-only education. Or. Rev. Stat. §

336.455(2)(d), (3). And New Jersey, by contrast, compels teachers, when educating

students on sex, to “stress abstinence.” N.J. Law 18A:35-4.20; 18A:35-4.38.

    Plaintiffs’ unfounded First Amendment theory would jeopardize all of these

laws, impairing every State’s authority to regulate on these uniquely local subjects

of concern. See U.S. Const. Amend. X. As explained below, however, H.B. 1557, just

like many other education laws governing the content of curriculum, is manifestly

constitutional. There is no need for this court to throw the States’ public-school ap-

paratuses into disarray, which yearly provide critical educational services to almost

50 million American children.6

        B.   Teachers do not have a First Amendment right to override the
             State’s curriculum choices.

    When they are engaged in classroom instruction, teachers are agents of the State

and “are not speaking as citizens for First Amendment purposes.” Garcetti, 547 U.S.

at 421. The State retains the power to “regulate the content of what is or is not ex-

pressed when it is the speaker” and “take legitimate and appropriate steps to ensure

that its message is neither garbled nor distorted.” Rosenberger v. Rector & Visitors of

the Univ. of Va., 515 U.S. 819, 833 (1995). Thus, though a teacher's out-of-class



    6
      Nat’l Ctr. for Educ. Statistics, Fast Facts, https://nces.ed.gov/fastfacts/dis-
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speech is typically protected by the First Amendment, see Pickering v. Bd. of Educ. of

Twp. High Sch. Dist. 205, 391 U.S. 563, 568 (1968), in-class speech is generally not.

See e.g., Bradley v. Pittsburgh Bd. of Educ., 910 F.2d 1172, 1176 (3d Cir. 1990) (teacher

had no First Amendment right to choose a classroom management technique banned

by her school). After all, teachers are “not paid to go into school and teach subjects

the State does not hire [them] to teach.” Tinker v. Des Moines Indep. Cmty. Sch. Dist.,

393 U.S. 503, 522 (Black, J., dissenting).7

    Part and parcel of regulating teachers’ classroom speech is making sure they are

actually imparting a quality education at the State’s direction. See e.g., Bethel Sch.

Dist. No. 403 v. Fraser, 478 U.S. 675, 681 (1986). “[W]here the government is em-

ploying someone for the very purpose of effectively achieving its goals . . . restrictions

may well be appropriate.” Waters v. Churchill, 511 U.S. 661, 675 (1994) (plurality

op.). The relevant inquiry is instead whether a teacher’s speech could be perceived

as school-sponsored: if it can, a teacher’s speech is not protected by the First

Amendment. On this, Hazelwood is instructive. 484 U.S. at 267. In Hazelwood, the

Supreme Court considered whether the censorship of a student-run high school



    7
      Although a teacher ordinarily cannot assert the Speech Clause as a ground to
resist the state’s curriculum decisions, the Free Exercise Clause could require the
recognition of religious exemptions from some school policies in at least some cir-
cumstances.

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newspaper produced as part of a journalism class violated the First Amendment. Id.

at 262. The Court decided it did not because the newspaper was school-sponsored,

and the government has an interest in what messages are associated with itself. Id. at

272.

    Though Hazelwood involved school-sponsored student speech, many circuits, in-

cluding the Eleventh Circuit, have applied Hazelwood to cases involving teachers in

classrooms or supervising school-sponsored events. Specifically, the Eleventh Cir-

cuit addressed restrictions on teachers’ in-classroom speech in Bishop v. Aronov, a

case deciding whether a university—where First Amendment rights are typically at

their zenith for teachers—may restrict a professor's classroom expression. 926 F.2d

1066, 1068–70 (11th Cir. 1991). The Eleventh Circuit explained that “during instruc-

tional periods the . . . classrooms are ‘reserved for other intended purposes,’ viz.,

the teaching of a particular . . . course for credit.” Id. at 1071 (quoting Hazelwood,

484 U.S. at 267). Reasoning that the crucial question was whether the purportedly

protected speech was in the classroom, the Eleventh Circuit determined that the

professor’s speech departing from the authorized curriculum was not protected, and

the professor's classroom expression could be reasonably restricted. Id. at 1071, 1077.




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    The other courts of appeals have likewise determined that teachers do not pos-

sess a sweeping First Amendment veto over a State’s or school’s mandatory curric-

ulum.

    Relying on Tinker and Hazelwood, the First Circuit observed that it is “well-set-

tled that public schools may limit classroom speech to promote educational goals,”

which includes prohibiting a biology teacher from discussing abortions targeting chil-

dren with Downs Syndrome. Ward v. Hickey, 996 F.2d 448, 452 (1st Cir. 1993). Like-

wise, the Second Circuit in Silano v. Sag Harbor Union Free School District Board of

Education determined that a teacher, who showed his high school class a video with

topless women and a man, did not have an unfettered free speech right to select his

classroom content. 42 F.3d 719, 722 (2d Cir. 1994). The Third Circuit in Bradley

ruled that a teacher had no First Amendment right to choose classroom management

techniques expressly banned by her school. 910 F.2d at 1176. The en banc Fourth

Circuit held that a teacher’s selection of a play for students to perform was not pro-

tected by the First Amendment. Boring v. Buncombe Cnty. Bd. of Educ., 136 F.3d 364,

370–71 (4th Cir. 1998) (en banc). In Kirkland, the Fifth Circuit determined that a

high school history teacher selecting his own reading list for his class was not pro-

tected speech under the First Amendment. 890 F.2d at 795. The Sixth Circuit held

that an English teacher’s curriculum choices were subject to school control, that her



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selection of objectionable material, such as a first-hand account of a rape and a story

about a young boy who murdered a priest and desecrated a church, were not pro-

tected free speech, and her in-class speech was not protected by the First Amend-

ment under Garcetti. Evans-Marshall v. Bd. of Educ. of Tipp City Exempted Vill. Sch.

Dist., 624 F.3d 332, 343 (6th Cir. 2010). In Mayer v. Monroe County Community School

Corp. the Seventh Circuit held that the First Amendment did not entitle a high

school teacher to “depart from the curriculum adopted by the school system” and

advocate her own negative viewpoints on the Iraq war. 474 F.3d 477, 480 (7th Cir.

2007). The Eighth Circuit upheld the termination of a teacher who chose an assign-

ment that allowed “a student to read aloud a poem that describes sexual encounters

in the most graphic detail.” Lacks v. Ferguson Reorganized Sch. Dist. R-2, 147 F.3d

718, 724 (8th Cir. 1998). The Ninth Circuit has upheld the firing of a high school

teacher over posting banners in his classroom because such classroom decorations

are government speech and not protected by the First Amendment. Johnson v. Poway

Unified Sch. Dist., 658 F.3d 954, 970 (9th Cir. 2011). Lastly, the Tenth Circuit in

Miles v. Denver Public Schools held that a high school teacher’s comment about how

the quality of the school had declined since the 1960s was not protected by the First

Amendment. 944 F.2d 773, 774 (10th Cir. 1991).




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      Against this uniform nationwide backdrop, plaintiffs’ First Amendment theory

stands alone. 8 As the Sixth Circuit observed, though teachers do not “shed their

constitutional rights . . . at the schoolhouse gate,” Tinker, 393 U.S. at 506, “that does

not transform them into the employee and employer when it comes to deciding

what” is or is not taught in class. Evans-Marshall, 624 F.3d at 340. Neither teachers

nor students have an unfettered right to say or do as they will in the classroom. See

Hazelwood, 484 U.S. at 273. Florida’s law falls well within the bounds of common

practice with the nature and extent of the guidance it provides schools regarding sen-

sitive topics. Plaintiffs’ claims (at 51–56) that Florida’s H.B. 1557 violates the First

Amendment fail.

II.       Plaintiffs Fall Short of the Pleading Standard for Overcoming the Florida
          Legislature’s Presumption of Good Faith.

      Plaintiffs assert two claims alleging that H.B. 1557 violates the Fourteenth



      8
      And plaintiff’s cursory assertion of First Amendment overbreadth (at 55–56)
misinterprets Florida’s law. As to the student plaintiffs, the law does not restrict
their speech as it only restricts “classroom instruction . . . on sexual orientation [and]
gender identity.” Fla. Stat. § 1001.42(8)(c)(3). And regardless, “where the [State]
is selecting textbooks for use in the classroom, students have no constitutional right
to compel the [State] to select materials of their choosing.” Chiras v. Miller, 432 F.3d
606, 620 (5th Cir. 2005). To the extent that any teacher plaintiff raises an over-
breadth challenge, such as plaintiff Washington (at 55), their speech is not private
but government speech. Bannon v. Sch. Dist. of Palm Beach Cnty., 387 F.3d 1208, 1213
(11th Cir. 2004) (per curiam) (“[E]xpression delivered directly through the govern-
ment or indirectly through private intermediaries” is government speech in which
the “government is free to make subject-matter-based choices.”).

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Amendment’s Equal Protection Clause on the ground that it intentionally discrimi-

nates against, and has a disparate impact on, LGBTQ persons. Compl. 47–51 (ECF

No. 123). Because nothing in the text of H.B. 1557 draws classifications based on the

sexual orientation or gender identity of any persons, plaintiffs seek to establish this

position primarily on the basis of a handful of statements by state legislators, Gover-

nor DeSantis, and the Governor’s Press Secretary. Compl. 16–29. But plaintiffs’ ap-

proach runs headlong into the presumption of legislative good faith, which cannot be

so cavalierly jettisoned.

      A.     The Florida Legislature is entitled to a presumption of good faith.

    In a wide “variety of contexts,” the Supreme Court has established that proof of

“discriminatory intent or purpose is required to show a violation of the Equal Pro-

tection Clause.” Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252,

265 (1977). But inquiries into the motivations for legislative acts are a “sensitive”

undertaking. Id. at 266. Indeed, “[p]roving the motivation behind official action”

has been described as “a problematic undertaking,” Hunter v. Underwood, 471 U.S.

222, 228 (1985), and “a hazardous matter,” United States v. O’Brien, 391 U.S. 367,

383 (1968); see also S. Car. Educ. Ass’n v. Campbell, 883 F.2d 1251, 1262 (4th Cir.

1989) (“Determining the subjective intent of legislators and the collective motiva-

tion of legislatures is a perilous enterprise indeed.”). Consequently, “[o]nly the



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clearest proof could suffice to establish the unconstitutionality of a statute” on the

ground of an improper legislative purpose. Flemming v. Nestor, 363 U.S. 603, 617

(1960). Moreover, where there are “legitimate reasons” for a law, courts “will not

infer a discriminatory purpose.” McCleskey v. Kemp, 481 U.S. 279, 299 (1987).

    A corollary to these principles is that the legislature is presumed to act in good

faith when enacting legislation. See Perez, 138 S. Ct. at 2324–25; Miller v. Johnson,

515 U.S. 900, 916 (1995). As a consequence, a legislature is presumed to have acted

to advance any constitutionally permissible reasons apparent on the face of a statute

unless there is unmistakable evidence to the contrary. See Regents of Univ. of Cal. v.

Bakke, 438 U.S. 265, 318–19 (1978) (“good faith would be presumed in the absence

of a showing to the contrary”); League of Women Voters, 32 F.4th at 1373; Fusilier v.

Landry, 963 F.3d 447, 464 (5th Cir. 2020). The Supreme Court has long held that a

“heavy presumption” of constitutionality and good faith applies in the context of a

legislature’s enactments. U.S. Dep’t of Labor v. Triplett, 494 U.S. 715, 721 (1990).

And this presumption traces its origins at least as far back as Chief Justice Marshall’s

1810 opinion in Fletcher v. Peck, a case, like this one, where plaintiffs sought to have

their case turn on the motives of those who enacted a challenged law, 10 U.S. (6

Cranch) 87, 131 (1810). The Chief Justice made clear that such an inquiry was “a




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question of much delicacy, which ought seldom, if ever, to be decided in the affirm-

ative, in a doubtful case.” Id. at 128; accord Arlington Heights, 429 U.S. at 268 n.18

(citing Fletcher).

    These principles safeguard federalism. Every time legislatures act, they must

“exercise the political judgment necessary to balance competing interests.” Miller,

515 U.S. at 915. Disputes about whether a law is “undemocratic and unwise” should

remain in the statehouse, not the courthouse. Pers. Adm’r of Mass. v. Feeney, 442 U.S.

256, 280 (1979); see also Williamson v. Lee Optical of Okla., Inc., 348 U.S. 483, 488

(1955) (federal courts do not hold laws unconstitutional because they find them, “un-

wise, improvident, or out of harmony with a particular school of thought”). Federal

“courts do not substitute their social and economic beliefs for the judgment of legis-

lative bodies, who are elected to pass laws.” Ferguson v. Skrupa, 372 U.S. 726, 730

(1963); see also Day-Brite Lighting, Inc. v. Missouri, 342 U.S. 421, 423 (1952) (“we do

not sit as a super-legislature to weigh the wisdom of legislation”). In short, the pre-

sumption of legislative good faith helps to ensure that the judiciary stays out of the

political fray and avoids “substitut[ing] their own pleasure to the constitutional in-

tentions of the legislature.” The Federalist No. 78, at 467_ (Alexander Hamilton)

(Clinton Rossiter ed., 1961).




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    To be sure, parties may overcome the presumption of legislative good faith

through a highly persuasive showing of direct and circumstantial evidence. Arlington

Heights, 429 U.S. at 266–68. Such evidence might be gleaned by an assessment of

the traditional Arlington Heights factors: “(1) the impact of the challenged law; (2)

the historical background; (3) the specific sequence of events leading up to its pas-

sage; (4) procedural and substantive departures; and (5) the contemporary state-

ments and actions of key legislators.” Greater Birmingham Ministries v. Sec’y of State

for State of Ala., 992 F.3d 1299, 1322 (11th Cir. 2021). The Eleventh Circuit has ar-

ticulated three other non-exclusive factors bearing on this analysis: “(6) the foresee-

ability of the disparate impact; (7) knowledge of that impact, and (8) the availability

of less discriminatory alternatives.” Id.

    But surmounting the presumption of good faith requires the “clearest proof”

that a legislature enacted a facially neutral law for improper reasons. Smith v. Doe,

538 U.S. 84, 92 (2003); see Whole Woman’s Health v. Lakey, 769 F.3d 285, 295 (5th

Cir. 2014) (applying the “clearest proof” standard to charges that the Texas Legis-

lature enacted a law “for the purpose of imposing an undue burden on women seek-

ing abortions”), vacated in part on other grounds, 574 U.S. 931 (2014); Ambassador

Books & Video, Inc. v. City of Little Rock, 20 F.3d 858, 863 (8th Cir. 1994) (applying




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the standard to purpose-based First Amendment challenges). Proving an illicit pur-

pose is difficult enough when evaluating the decisions of a single government official.

See Ashcroft v. Iqbal, 556 U.S. 662, 680–83 (2009). But it is all the more daunting

when evaluating the motives of the state legislature as a collective whole. Hunter, 471

U.S. at 228. After all, “[w]hat motivates one legislator to make a speech about a stat-

ute is not necessarily what motivates scores of others to enact it.” O’Brien, 391 U.S.

at 384. And “the legislators who vote to adopt a bill are not the agents of the bill’s

sponsor or proponents.” Brnovich, 141 S. Ct. at 2350.

      B.     Plaintiffs’ allegations do not overcome the presumption of
             legislative good faith.

    The allegations in plaintiffs’ complaint do not rise to anywhere near the level

necessary to dispatch the presumption of legislative good faith afforded to H.B. 1557.

At the motion-to-dismiss stage, the presumption requires that the facts alleged to

“give rise to . . . an inference that is strong enough to overcome the presumption of

legislative good faith.” Perez, 138 S. Ct. at 2328–29. What is “strong enough”? Id.

Because this presumption requires courts to exercise “extraordinary caution” when

considering claims that a legislature enacted a statute with an unlawful purpose, Mil-

ler, 515 U.S. at 916, and to “resolv[e] all doubts in favor of” a law’s validity, Davis v.

Dep’t of Labor & Indus., 317 U.S. 249, 258 (1942), only factual allegations that, if true,




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would constitute “the clearest proof” of impermissible motive can survive a motion

to dismiss, Nestor, 363 U.S. at 617.

    Plaintiffs do not supply such allegations. They instead rely on a handful of state-

ments from four legislators, including the bill’s House and Senate sponsors, and

from Governor DeSantis’s Press Secretary. These they collectively characterize as

reflecting hostility towards LGBT persons. Compl. 16–23. Setting aside that plain-

tiffs’ descriptions of these statements are inaccurate—itself a fatal flaw—the state-

ments of a few legislators cannot serve as a basis for imputing the motivations of all

160. Cf. Greater Birmingham Ministries, 992 F.3d at 1324 (“It is also questionable

whether the sponsor speaks for all legislators. The vote of a sponsor is only one vote

of the 105 votes in the Alabama House of Representatives.”). After all, “the legisla-

tors who vote to adopt a bill are not the agents of the bill’s sponsor or proponents.”

Brnovich, 141 S. Ct. at 2350. And besides “[w]hat motivates one legislator to make a

speech about a statute is not necessarily what motivates scores of others to enact it.”

O’Brien, 391 U.S. at 384.

    Nor can plaintiffs’ nod to various amendments that were rejected during the leg-

islative process, Compl. at 23–26, without more, provide proof of discriminatory in-

tent sufficient to overcome the presumption of good faith. There is nothing out of

the ordinary or unusual about the rejection of amendments proposed by the bill’s



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opponents. And plaintiffs’ oblique reference to a “longer history” of discrimination

against LGBTQ people, Compl. 28, does nothing to demonstrate a history of official

discrimination by the State of Florida. See Veasey v. Abbott, 830 F.3d 216, 257 (5th Cir.

2016) (en banc). Put simply, no individual legislator’s statements can “demonstrate

discriminatory intent by the state legislature.” League of Women Voters. v. Fla. Sec’y

of State, 32 F.4th at 1373.

       Because plaintiffs’ sparse allegations of discriminatory intent are legally insuffi-

cient, the Court should apply the long-established presumption of legislative good

faith to dismiss the Equal Protection Clause claims.

III.     Florida’s H.B. 1557 Is Not Unconstitutionally Vague.

       H.B. 1557 is also not unconstitutionally vague. Plaintiffs’ facial vagueness chal-

lenge faces a heavy burden, particularly because it is a challenge to a civil, rather than

criminal, law governing a unique area where the State’s interests are at their apex—

public education. Plaintiffs come nowhere near satisfying that burden. This Court

already concluded that HB 1557 is not even “arguably vague” as to the plaintiffs,

Orders on Motion to Dismiss at 10 (ECF No. 120), and nothing about plaintiffs’ case

has changed in a way that would undermine that conclusion.

       “Facial invalidation ‘is, manifestly, strong medicine’ that has been employed by

the Court sparingly and only as a last resort.” Nat’l Endowment for the Arts v. Finley,



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524 U.S. 569, 580 (1998) (quoting Broadrick v. Oklahoma, 413 U.S. 601, 613 (1973).

To warrant this strong medicine in a facial vagueness challenge, a plaintiff must show

that a statute’s language suffers such “hopeless indeterminacy” that reasonable per-

sons lack “fair notice of the conduct it punishes.” Johnson v. United States, 576 U.S.

591, 595, 598 (2015). That is a particularly high bar. Statutes are not facially vague

merely because they have some uncertain applications. See Grayned v. City of Rock-

ford, 408 U.S. 104, 110 (1972) (“Condemned to the use of words, we can never ex-

pect mathematical certainty from our language”); Kolender v. Lawson, 461 U.S. 352,

361 (1983) (“[D]ue process does not require ‘impossible standards’ of clarity.”) (ci-

tation omitted). Instead, it is only the rare law, such as one that proscribes “annoy-

ing” conduct, Coates v. City of Cincinnati, 402 U.S. 611, 612 (1971), that is facially

vague.

    Plaintiffs’ bar is even higher here because Florida’s law imposes only civil con-

sequences, and then only for conduct that occurs in the schools. “The degree of

vagueness that the Constitution tolerates . . . depends in part on the nature of the

enactment.” Vill. of Hoffman Ests. v. Flipside, Hoffman Ests., Inc., 455 U.S. 489, 498

(1982). Civil laws impose penalties that are “qualitatively less severe,” and vague-

ness challenges are accordingly even more difficult to make in the civil context. Id.

at 498-99. Likewise, the subject matter of the law is highly relevant when evaluating



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imprecision, id., and the Supreme Court has recognized that the education context

calls for a particularly forgiving standard when evaluating a State’s decisions because

“maintaining . . . order” in the educational setting requires rules of great “flexibil-

ity.” See, e.g., Bethel Dist., 478 U.S. at 686.

    H.B. 1557 is plainly constitutional under this standard. H.B. 157’s core proscrip-

tive phrase applies to “classroom instruction . . . on sexual orientation or gender

identity.” But statutes a great deal less determinate have been upheld as not vague.

For example, the Ninth Circuit upheld a law against a facial challenge that required

teachers to “overwhelmingly” use the English language in their classroom instruc-

tion. Teachers Ass’n v. State Bd. of Educ., 271 F.3d 1141, 1145 (9th Cir. 2001); see also

Leib v. Hillsborough Cnty. Pub. Transp. Comm’n, 558 F.3d 1301, 1310-11 (11th Cir.

2009) (licensing regulation failing to define the limits of its terms not unconstitution-

ally vague). And the Supreme Court has repeatedly upheld laws with imprecise

scope, such as a law making it a crime to non-consensually “approach” someone to

engage in “oral protest, education, or counseling” near a health facility, Hill v. Col-

orado, 530 U.S. 703, 732 (2000), a prohibition on protests that “unreasonably inter-

fere” with public building access, Cameron v. Johnson, 390 U.S. 611, 616 (1968), and

a proscription on vehicles that emit “loud and raucous” noises. Kovacs v. Cooper, 336




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U.S. 77, 87 (1949). H.B. 1557 is at least as precise, if not substantially more, than

these valid laws.

    Indeed, if H.B. 1557’s core language failed for vagueness, it would doom numer-

ous other State education laws. Illinois, for example, requires that all classes teaching

“personal health and safety and comprehensive sexual health education” must be

“age and developmentally appropriate, medically accurate, complete, culturally ap-

propriate, inclusive, and trauma informed.” 105 Ill. Comp. Stat. Ann. 5/27-9.1(b)(1).

New Jersey requires “age appropriate” “dating violence education” that includes

instruction on “behavior where one person threatens to use, or actually uses physi-

cal, sexual, verbal, or emotional abuse to control a dating partner.” N.J. Stat.

§ 18A:35-4.23a. And California’s “Healthy Youth Act” requires that teachers “pro-

vide pupils with knowledge and skills they need to form healthy relationships that

are based on mutual respect and affection.” Cal. Educ. Code § 51933(g). All of these

laws have significant ambiguities and are susceptible to multiple interpretations. For

example, does a teacher comply with California’s law when it gives students

“knowledge” on how to show “affection” in relationships through physical touch?

Or would that physicality be inconsistent with the law’s parallel purpose of instruc-

tion for “mutual respect”? Teachers sort out these applications, as they do with an




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innumerable number of other State education laws. None of that imprecision, how-

ever, dooms the law’s facial constitutional validity.

    Plaintiffs’ attempt to summon fanciful applications of the law also fails to show

that the law is unconstitutionally vague. For example, one student, S.S., alleges that

a friend was not allowed to “create a website” regarding LGBTQ resources because

the friend was told it “might violate H.B. 1557.” Compl. 32. Plaintiff M.A. alleges

that teachers will not “serve as an advisor” for an LGBTQ club because of the law.

Id. at 33. And M.A. claims that another student informed M.A that students would

be required to wear clothing consistent with their biological sex because of the law.

Id. at 34. It is not apparent how H.B. 1557 would apply to any of this conduct. And

“statutes are not automatically invalidated as vague simply because difficulty is

found in determining whether certain marginal offenses fall within their language.”

United States v. Nat’l Dairy Prods. Corp., 372 U.S. 29, 32 (1963). Moreover, even if

this conduct did fall within the statute’s reach, Plaintiffs would run headlong into

another problem that dooms their facial-vagueness claim: one who “engages in some

conduct that is clearly proscribed cannot complain of the vagueness of the law as

applied to the conduct of others.” Vill. of Hoffman Ests., 455 U.S. at 495. That third-

party vagueness complaint would thus necessarily fail.




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                                 CONCLUSION

  The Court should grant the motion to dismiss.



                                    Respectfully submitted.


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DECEMBER 2022
*Admitted in the U.S. District Court of
the Northern District of Florida




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                   LOCAL RULE 7.1(F) CERTIFICATION

   As required by Local Rule 7.1(F), the undersigned counsel certifies that this

brief contains 5952 words.

   /s/ Judd E. Stone II
   JUDD E. STONE II




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                          CERTIFICATE OF SERVICE

    I hereby certify that on December 7, 2022, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to all parties for whom counsel has

entered an appearance by operation of the Court’s electronic filing system.

     /s/ Judd E. Stone II
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